                Case 2:22-cv-01046-LK Document 6 Filed 07/28/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
                                     OFFICE OF THE CLERK
                                          AT SEATTLE



RAVI SUBRAMANIAN
CLERK OF COURT
700 STEWART ST.
SEATTLE, WA 98101

July 28, 2022


LEWIS V. WHIRLPOOL CORPORATION
United States District Court Case No.: 2:22−cv−01046−LK
Superior/District Court Case No.:      22−2−08650−5 SEA

Dear Counsel or Pro Se Party:

The above entitled action was removed to the United States District Court from the Superior/District Court on
July 27, 2022. This case has been assigned to the Honorable Lauren King.

Your attention is directed to the provisions of Rule 38(b) and 81(c) of the Federal Rules of Civil Procedure,
pertaining to the filing of demands for trial by jury in Federal Court.

You are also advised that Local Civil Rule 101(b) states that each petitioner for removal under Chapter 89 of
Title 28, U.S.C., shall, within fourteen days of filing the notice of removal, file with the clerk of this court
copies of all additional records and proceedings in the state court, that were not already filed with the Notice
of Removal, together with verification of counsel that they are true and complete copies of all the records and
proceedings in the state court proceeding. The copies need not be allowed as a cost item under 28 U.S.C. §
1920(4) unless certification is required after an opposing party challenges the accuracy of the copies. Records
and proceedings in the state court, filed with the notice of removal, need not be refiled.

Pursuant to Local Civil Rule 101(c), if a motion is pending and undecided in the state court at the time of
removal, it will not be considered unless and until the moving party notes the motion on this court's calendar
in accordance with Local Civil Rule 7(d).

The Western District of Washington has mandated electronic case filing as of June 1, 2004. With the
exception of pro se filers, if you are not already registered for ECF please take a moment to download the
registration form on our web site, on the Electronic Case Filing page. Your login and password will be
emailed to you from the Clerk's Office. This will allow you to file electronically as well as to be served
electronically via email. E−filing procedures available on our web site. We also offer a two hour hands−on
training class in e−filing. If you have any questions about e−filing, registration or training, please call the ECF
Help Desk at 1−866−323−9293.

Thank you for your cooperation.

Sincerely,



Ravi Subramanian, Clerk of Court

 s/Sherri Tye
 Deputy Clerk
